      Case 3:19-cv-06114-BHS-MLP Document 29 Filed 05/06/21 Page 1 of 1



 1
 2
 3
 4                              UNITED STATES DISTRICT COURT
 5                           WESTERN DISTRICT OF WASHINGTON
 6
 7 Michelle Mele, on behalf of herself and all      Case No.: 3:19-cv-06114-BHS-MLP
   others similarly situated,                       ORDER
 8
 9                           Plaintiff,
10
           vs.
11
     Medical Management International, Inc.
12
     d/b/a Banfield Pet Hospital,
13
                             Defendant.
14
15
16          Based on the stipulation of counsel, the case is dismissed with prejudice as to
17 the Plaintiff, without prejudice as to the claims of any putative class members and
18 with each party to bear its own attorney fees and costs.
19
20 Dated this 6th day of May, 2021.
21
22
23
24
                                            ABENJAMIN H. SETTLE
                                             United States District Judge
25
26
27
28

     3:19-cv-06114-BHS-MLP                                                             ORDER
